            Case 4:19-cv-05115-EFS                  ECF No. 33           filed 09/21/20    PageID.993 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                              FILED IN THE
                                                                                                               U.S. DISTRICT COURT
                                                                  for the_                               EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                          DAWNA F.,
                                                                                                          Sep 21, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:19-CV-5115-EFS
                 ANDREW M. SAUL,                                     )
              Commissioner of Social Security,                       )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment is DENIED. The Commissioner’s Motion for Summary Judgment is
’
              GRANTED. JUDGMENT is entered in favor of Defendant.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                Edward F. Shea                             cross-motions for summary judgment.




Date: September 21, 2020                                                     CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                             Courtney Piazza
